     Case 1:22-cv-00986-GTS-CFH Document 75 Filed 11/01/22 Page 1 of 12




                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF NEW YORK

IVAN ANTONYUK, et. al.,                  )
                                         )
Plaintiffs,                              )
                                         )   Civil Action No. 22-cv-00986 (GTS-CFH)
v.                                       )
                                         )
KATHLEEN HOCHUL, in her Official         )
Capacity as Governor of the State of New )
York, et. al.,                           )
                                         )
Defendants.                              )
____________________________________)


    PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO DEFENDANTS GREGORY
               OAKES AND DON HILTON’S MOTION TO DISMISS
     Case 1:22-cv-00986-GTS-CFH Document 75 Filed 11/01/22 Page 2 of 12




                                         TABLE OF CONTENTS

           PRELIMINARY STATEMENT....................................................................................1

           RULE 12(b)(1) STANDARD........................................................................................1

           ARGUMENT.................................................................................................................2

I.         Defendants Have Failed to Undermine Plaintiff Mann’s Standing................................2

      A.        Injury-In-Fact – Pastor Mann Has Alleged Clear Threats of Enforcement.............3

      B.        Causal Connection Between the Injury and the Complained of Conduct.................7

      C.        Likelihood that the Injury Will Be Redressed by a Favorable Decision...................9

           CONCLUSION..............................................................................................................9




                                                               ii
      Case 1:22-cv-00986-GTS-CFH Document 75 Filed 11/01/22 Page 3 of 12




                                  PRELIMINARY STATEMENT

       On October 13, 2022 Defendants Gregory Oakes, the District Attorney of Oswego County,

and Don Hilton, the Sheriff of Oswego County (“Defendants”), filed a Motion to Dismiss pursuant

to F.R.Civ.P. Rule 12(b)(1), challenging the standing of Plaintiff Pastor Joseph Mann (“Pastor

Mann”) (ECF # 46, 46-2). The gist of Defendants’ argument is that Pastor Mann has not credibly

“been threatened with arrest or prosecution” by them, but rather “engages in speculation” about

their intended enforcement of the Concealed Carry Improvement Act (“CCIA”).                    See

Memorandum of Law in Support of Motion to Dismiss Plaintiff Joseph Mann’s Complaint

(“Mot.”). at 3. Specifically, Defendants claim that Pastor Mann’s allegations against them involve

“generalized statements of generalized enforcement,” rather than any “specific threat to” him.

Mot. at 7, 9. On the contrary, the allegations in Pastor Mann’s Declaration easily demonstrate that

he faces a credible threat of arrest or prosecution, particularly in view of the facts that neither

Defendant has disavowed enforcement of the CCIA and, in fact, Defendant Hilton made specific

comments about his planned enforcement of the CCIA, including enforcement in specific relation

to a church, the central focus of Pastor Mann’s allegations.

                                  RULE 12(b)(1) STANDARD

       To survive a “Rule 12(b)(1) motion to dismiss,” a plaintiff “must allege facts that

affirmatively and plausibly suggest that it has standing to sue.” Amidax Trading Grp. v. S.W.I.F.T.

SCRL, 671 F.3d 140, 145 (2d Cir. 2011). “In reviewing a facial attack to the court's jurisdiction,

we draw all facts — which we assume to be true unless contradicted by more specific allegations

or documentary evidence —from the complaint and from the exhibits attached thereto.” Id. “To

establish standing ‘a plaintiff is constitutionally required to have suffered (1) a concrete,

particularized, and actual or imminent injury-in-fact (2) that is traceable to defendant's conduct




                                                 1
           Case 1:22-cv-00986-GTS-CFH Document 75 Filed 11/01/22 Page 4 of 12




and (3) likely to be redressed by a favorable decision.’” Id. (citing Woods v. Empire Health

Choice, Inc., 574 F.3d 92, 96 (2d Cir. 2009) (citing Lujan v. Defs. of Wildlife, 504 U.S. 555, 560-

61 (1992). These factors are met here.

                                            ARGUMENT

      I.       Defendants Have Failed to Undermine Pastor Mann’s Standing.

            Defendants do not dispute, but “assume arguendo,” that Pastor Mann has a “concrete

intention” to violate the CCIA in the ways alleged in his Declaration.1 Mot. at 5 n.2. Further,

Defendants “assume arguendo” that persons in their positions otherwise would be proper parties

in a case such as this. See Mot. at 6-7 n.3. Defendants claim only that “Plaintiff Mann fails to

demonstrate any credible threat of prosecution [by them] under the CCIA.” Id. Essentially,

Defendants argue that, because they have not yet shown up to Pastor Mann’s church to arrest him

or threaten him with arrest, there is “no connection with any kind of threat of arrest to Plaintiff

Mann.” Mot. at 7. But such a requirement essentially would require a person be caught in violation

of the law, hoping that law enforcement officers sworn to enforce the law will choose not to do so,

and instead merely threaten future arrest and prosecution.

            This is not the standard.   Rather, for pre-enforcement challenges, “[a] party facing

prospective injury has standing to sue where the threatened injury is real, immediate, and direct.”

Davis v. FEC, 554 U.S. 724, 734 (2008). Importantly, the Supreme Court has established that “an

actual arrest, prosecution, or other enforcement action is not a prerequisite to challenging the law.”

Susan B. Anthony List v. Driehaus, 573 U.S. 149, 158 (2014). Pastor Mann’s allegations clear this

threshold.




1
    The Declaration of Pastor Mann is Complaint Ex. “8.”


                                                  2
      Case 1:22-cv-00986-GTS-CFH Document 75 Filed 11/01/22 Page 5 of 12




       A.      Injury-In-Fact – Pastor Mann Has Alleged Clear Threats of Enforcement.
       The Second Circuit has established that: “[w]hen a plaintiff ‘has alleged an intention to

engage in a course of conduct arguably affected with a constitutional interest, but proscribed by a

statute, and there exists a credible threat of prosecution thereunder, he should not be required to

await and undergo a criminal prosecution as the sole means of seeking relief.’” Cayuga Nation v.

Tanner, 824 F.3d 321, 331 (2d Cir. 2016) (citations omitted). A sufficient injury-in-fact exists for

pre-enforcement review when plaintiffs demonstrate fear of criminal prosecution under an

allegedly unconstitutional statute that “is not imaginary or wholly speculative” and, to do so, a

plaintiff need not “first expose himself to actual arrest or prosecution to be entitled to challenge

[the] statute.” Babbitt v. UFW Nat’l Union, 442 U.S. 289, 302 (citation omitted).2 This Circuit has

explained that “the Babbitt standard sets a ‘low threshold’ and is ‘quite forgiving’ to plaintiffs

seeking such preenforcement review.” Hedges v. Obama, 724 F.3d 170, 196, 197 (2d. Cir. 2013).3



2
  In Babbit, although the challenged statute applied broadly to “any person … who violates any
provision,” nevertheless the court found appellees were “not without some reason in fearing
prosecution” and thus had standing. Id. at 302. Indeed, the Second Circuit has applied this
permissive standard in a number of cases challenging criminal statutes — finding standing where
the plaintiff “will have to take significant and costly compliance measures or risk criminal
prosecution.” Hedges v. Obama, 724 F.3d 170, 196 (2d. Cir. 2013). In order to comply with the
CCIA, Pastor Mann would be required literally to give up his Second Amendment rights entirely,
including dispossessing himself of firearms kept in his home to provide self-defense for him, his
family, and his parishioners – clearly a “significant” burden to avoid arrest and felony prosecution
under the CCIA.
3
  Although Plaintiffs have not conducted an exhaustive search, other circuits appear to take a
similar (or sometimes more permissive) approach to standing. See Speech First, Inc. v. Fenves,
979 F.3d 319, 329–30 (5th Cir. 2020) (“when dealing with pre-enforcement challenges to recently
enacted (or, at least, non-moribund) statutes that facially restrict expressive activity by the class to
which the plaintiff belongs, courts will assume a credible threat of prosecution in the absence of
compelling contrary evidence,” and alternatively a plaintiff establishes standing when “either
presently or prospectively subject to the regulations, proscriptions, or compulsions he was
challenging.”); New Hampshire Right to Life PAC v. Gardner, 99 F.3d 8, 15 (1st Cir. 1996);
Majors v. Abell, 317 F.3d 719, 721 (7th Cir. 2003) (“A plaintiff who mounts a pre-enforcement
challenge to a statute that he claims violates his freedom of speech need not show that the
authorities have threatened to prosecute him … the threat is latent in the existence of the statute.”).


                                                   3
      Case 1:22-cv-00986-GTS-CFH Document 75 Filed 11/01/22 Page 6 of 12




The Court further explained that courts should presume the government will enforce the law so

long as the relevant statute is “recent and not moribund.” Id. Pastor Mann demonstrated a credible

threat of enforcement under this Circuit’s standards, in his Complaint, and Declaration, which are

taken as true for purposes of Defendants’ Motion. See Amidax, at 145.

       Specifically, Defendant Hilton has stated that his office will enforce the CCIA because it

is the law whether he likes it or not, and specifically described the significant penalties for

possessing a firearm in a church – the very conduct in which Plaintiff Mann, within Defendant

Hilton’s jurisdiction, alleged that he intends to engage. Compl. at ¶¶ 17, 183. See Silva v. Farrish,

No. 21-0616, 2022 U.S. App. LEXIS 23841, at *19-20 (2d Cir. Aug. 25, 2022) (“[t]he state …

does not dispute that it would apply those regulations to the plaintiffs” and “‘nowhere in the record’

have the defendants ‘disavowed that they would criminally charge [the plaintiffs] again in the same

circumstances.’”).4 Indeed both Defendants, being law-enforcement officials within Oswego

County, have access to licensing records (i.e., evidence) showing that Pastor Mann (i) has a New

York carry license and (ii) possesses at least one handgun in his home.

       Next, Pastor Mann already has made clear his intentions (which Defendants accept

“arguendo,” Mot. at 5, 6) to continue keeping and bearing firearms both within his church (a

“sensitive location” under many of the provisions of the CCIA5) and within his own home (a



4
   Likewise, within this district, a plaintiff was found to have asserted a credible threat of
enforcement by announcing a “desire” to engage in conduct that “would be likely to result in his
prosecution,” even though “there is no indication that the District Attorney has articulated any
specific policy positions regarding enforcement [or] made any specific statements that might be
construed as targeting [the plaintiff’s] conduct in particular.” Avitabile v. Beach, 277 F. Supp. 3d
326, 331-32 (N.D.N.Y. 2017).
5
  See id. at ¶¶ 26, 28, 29; Compl. at ¶¶ 189-91 (counseling and addiction recovery services); id. at
¶ 30. Compl. at ¶ 192. (Sunday nursey, Sunday School, and Junior Church); id. at ¶ 31. Compl. at
¶ 193 (teaching school classes (subsections f, m)); Ex. “8” ¶¶ 32-34; Compl. ¶¶ 194-196
(subsection (s) (collectively exercising constitutional rights), (n) (church van and bus), or (p)
(banquet hall)).


                                                  4
      Case 1:22-cv-00986-GTS-CFH Document 75 Filed 11/01/22 Page 7 of 12




“sensitive location” because it is part of his church). Compl. Ex. “8,” ¶¶ 5, 12, 13, 14, 16; Compl.

at ¶¶ 181, 183-84. See Hardaway v. Nigrelli, 22-CV-771 (W.D.N.Y.), ECF #35 (finding standing,

based on lesser allegations, with respect to the CCIA’s ban on firearms in churches). Here, it

would be difficult to envision a more credible threat of enforcement, short of an actual arrest and

prosecution.

        Defendants cite generally to Cayuga Nation (Mot. at 6), but do not grapple with its holding

that, “[w]here … there is reason to believe that the plaintiffs will be targets of criminal prosecution,

and there has been no disavowal of an intention to prosecute those individuals, the plaintiffs have

adequately alleged a credible threat of prosecution.” Cayuga Nation v. Tanner, 824 F.3d 321, 331-

332 (2d. Cir. 2016). Here, Defendants have not disavowed enforcement of the CCIA, and do not

claim that Pastor Mann’s prosecution is unlikely or not remotely possible. See Virginia v. Am.

Booksellers Ass’n, 484 U.S. 383, 393 (1988) (“We are not troubled by the pre-enforcement nature

of this suit” where state did not disavow enforcement, and court concluding “that plaintiffs have

alleged an actual and well-founded fear that the law will be enforced against them.”). See also

Stagg, P.C. v. United States Dep’t of State, 983 F.3d 589, 605 (2d Cir. 2020) (“credible threat …

by DOS’s public statements interpreting the ITAR as covering Stagg’s intended speech.”); Berg

v. Vill. of Scarsdake, 2018 U.S. Dist. LEXIS 20180, *4 (S.D.N.Y. Feb. 6, 2018) (“confirmation of

the Village’s position that it is entitled to … commence criminal proceedings against

residents.…”).

        Defendants rely on the Does case (Mot. at 8), but that case is inapposite. In that case, the

Second Circuit appears to have relied on an established non-enforcement track record and a letter

sent to various plaintiffs to demonstrate that the plaintiffs did not suffer “an injury in fact.” Does

1-10 v. Suffolk Cty., No. 21-1658, 2022 U.S. App. LEXIS 19094, at *6 (2d Cir. July 12, 2022).




                                                   5
      Case 1:22-cv-00986-GTS-CFH Document 75 Filed 11/01/22 Page 8 of 12




There, “[b]ased on Does’ factual pleadings and the subsequent developments (or lack thereof) in

this case, Does have not established that their prosecution is likely ... or otherwise that the

threatened injury is certainly impending or that there is a substantial risk that they will be

harmed...” Id. at *7-8. The Second Circuit also stated that the plaintiffs did not demonstrate that

“any purchaser of the Delta Level Defense CT4-2A has been arrested or had their firearm forcibly

confiscated by Suffolk County.” Id. at *7. Here, the CCIA was in effect only for approximately

20 days when Plaintiffs filed this lawsuit and, in addition to this litigation, various other challenges

to the CCIA have been filed.

        Defendants rely heavily on Frey v. Bruen, 2022 WL 522478, at *4 (S.D.N.Y. Feb. 22,

2022), but that case is nothing like this one. Unlike in Frey, Pastor Mann does not simply “infer

that because the [CCIA’s restrictions] exist, [he] will be prosecuted.” Frey, at *13. See Compl.

Ex. “8,” ¶ 22-24 (alleging specific threats from now-Acting Superintendent Nigrelli and Defendant

Hilton regarding enforcement). Additionally unlike here, in Frey the court explained that the

plaintiffs “have not alleged concrete plans to violate the New York Penal Laws,” or “any

specification of when the some day will be.” Frey, at *13. Cf., e.g., Mann Declaration, Compl.

Ex. “8,” ¶¶ 11, 16, 20, 28, 29. Finally in Frey, there was some dispute over whether certain of the

planned actions were even covered by the statute, and “Plaintiffs have failed to proffer any

evidence indicating that they may be prosecuted specifically under Section 265 for openly carrying

their weapons.” Frey, at * 16. Of course, none of these factors exist here, where carrying in any

of the places listed in the CCIA is clearly punishable as a felony.




                                                   6
      Case 1:22-cv-00986-GTS-CFH Document 75 Filed 11/01/22 Page 9 of 12




       Finally, a credible threat of enforcement is established by the long history of New York

prosecutions for prohibited possession of a firearm in other prohibited locations.6 See Thoms v.

Heffernan, 473 F.2d 478, 484-85 (2d. Cir. 1973) (finding that “appellee faced a ‘credible threat of

enforcement’” when a “law enforcement official[]” said ‘if you’re in violation of the statute we’ll

lock you up,’ and “there had been a series of prosecutions” in similar contexts); Doe v. United

States Immigration & Customs Enf’t, 490 F. Supp. 3d 672, 683 (S.D.N.Y. 2020) (“In light of the

enforcement discretion accorded ICE and the dramatic increase in enforcement activity …. the fact

that Doe has not alleged any of the personal factors specified in the Directive does not diminish

the credibility of the threat of enforcement alleged.”).

       B. Causal Connection Between the Injury and the Complained of Conduct.

       As Plaintiffs’ Complaint recounts, Defendant Hilton is the Sheriff of Oswego County, New

York, the law-enforcement entity that provides “county-wide coverage” within Oswego County,

and thus responsible for enforcing the CCIA. Compl. ¶ 17. Moreover, although having criticized

the CCIA, Defendant Hilton (1) has stated that the CCIA is the law in New York whether he agrees

with it or not; (2) has explained that his office will enforce the CCIA; and (3) has explicitly called



6
     See https://www.news10.com/news/crime/man-arrested-for-illegal-firearm-in-adirondacks/
(man       arrested    in     Adirondack       Park       with      “an      illegal     shotgun”;
https://www.wcax.com/2022/10/19/tupper-lake-man-charged-with-illegal-gun-stash/               (man
arrested for unlawfully possessing pistol, then having additional firearms seized);
https://cnycentral.com/news/local/man-arrested-after-syracuse-police-find-him-in-possession-of-
handgun-left-lying-on-a-road (man arrested for “criminal possession of a firearm after Syracuse
Police say he picked up a handgun that was found lying in the middle of a road”); People v.
Ferguson, 2008 NY Slip Op 52112(U), ¶ 1, 21 Misc. 3d 1120(A), 1120A, 873 N.Y.S.2d 513, 513
(Crim Ct.) (defendant “declared he was in possession of a firearm” in an attempt to check the
firearm. That person was arrested, because he was “not licensed to possess said firearm in the City
of New York” and the court, without analysis, held that “an airport falls with the scope of a
‘sensitive place.’”).



                                                  7
     Case 1:22-cv-00986-GTS-CFH Document 75 Filed 11/01/22 Page 10 of 12




out the one place – a church – around which the majority of Pastor Mann’s allegations center,

expressly articulating that the Pastor’s conduct is illegal, and warning that such a violation “is a

felony punishable by up to 1 1/3 to 4 years in prison.” See Compl. Exhibit “8,” at ¶ 24, Declaration

of Pastor Mann. Defendant Hilton’s jurisdiction includes the places where Plaintiff Mann alleged

he intends to be in violation of the CCIA. Compl. ¶ 17. Far from a disavowal of enforcement of

the law, the Sheriff’s statements amount to communication of an intent to enforce CCIA against

Pastor Mann. It is this credible threat of enforcement, directly traceable to Defendant Hilton, from

which Pastor Mann seeks this Court’s protection.

       Defendant Oakes is the Oswego County District Attorney, with a duty “to conduct all

prosecutions for crimes and offenses cognizable by the courts” of Oswego County, including all

crimes under N.Y. Penal Law § 265.00 et seq. See County Law § 700(1). In other words,

Defendant Oakes would bear the legal responsibility to prosecute Pastor Mann in response to an

arrest for violation of the CCIA made by Defendant Hilton’s office, the New York State Police, or

any other law enforcement entity operating within Oswego County: “It is well established in New

York that the district attorney, and the district attorney alone, should decide when and in what

manner to prosecute a suspected offender.” Baez v. Hennessy, 853 F.2d 73, 77 (2d Cir. 1988).

“When a plaintiff mounts a constitutional challenge against a particular state statute, the proper

defendant is typically the state official charged with enforcing the statute.” Aron v. Becker, 48 F.

Supp. 3d 347, 379 (N.D.N.Y. 2014) (citing Diamond v. Charles, 476 U.S. 54 (1986)). See also

Avitabile v. Beach, 277 F. Supp. 3d 326, 331-32 (N.D.N.Y. 2017) (district attorney properly sued

even though “there is no indication that the District Attorney has articulated any specific policy

positions regarding enforcement [or] made any specific statements that might be construed as




                                                 8
     Case 1:22-cv-00986-GTS-CFH Document 75 Filed 11/01/22 Page 11 of 12




targeting [the plaintiff’s] conduct in particular.”). It is such prosecution from which Pastor Mann

seeks this Court’s protection.

       C. Likelihood that the Injury Will Be Redressed by a Favorable Decision.

       Defendants’ motion lists, but does not discuss, redressability, as a factor in the standing

analysis. See Mot. at 4. This is likely because a favorable ruling from this Court, that the

complained of portions of the CCIA are unconstitutional and cannot be enforced, obviously will

provide Pastor Mann the relief he seeks. First, he no longer will be at risk of arrest and prosecution

for merely having a firearm in his home (which is connected to his Church), which carry felony

penalties and loss of Second Amendment rights for life. Second, he no longer will be at risk for

carrying his firearm during church services and other ministry activities. Third, his constitutional

right to “keep and bear Arms,” which New York has stripped from him in a fit of post-Bruen rage,

will be vindicated. Defendants’ Motion to Dismiss does not claim otherwise.

                                          CONCLUSION
       Plaintiffs ask this Court to deny Defendants’ Motion to Dismiss (ECF #46) and order

Defendants file their Answer to Plaintiffs’ Complaint forthwith.

       Respectfully submitted, this the 1st of November, 2022.

/s/ Stephen D. Stamboulieh                            Robert J. Olson (VA # 82488)
Stephen D. Stamboulieh                                William J. Olson, PC
Stamboulieh Law, PLLC                                 370 Maple Ave. West, Suite 4
P.O. Box 428                                          Vienna, VA 22180-5615
Olive Branch, MS 38654                                703-356-5070 (T)
(601) 852-3440                                        703-356-5085 (F)
stephen@sdslaw.us                                     wjo@mindspring.com
NDNY Bar Roll# 520383                                 NDNY Bar Roll# 703779




                                                  9
     Case 1:22-cv-00986-GTS-CFH Document 75 Filed 11/01/22 Page 12 of 12




                               CERTIFICATE OF SERVICE
        I, Stephen D. Stamboulieh, hereby certify that on November 1, 2022, I filed a true and
correct copy of the foregoing document or pleading utilizing the Court’s ECF system, which
generated a Notice and provided a copy of this document or pleading to all counsel of record.




                                           /s/ Stephen D. Stamboulieh




                                             10
